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                     12   YIELDBOT, INC.
                     13
                                                UNITED STATES DISTRICT COURT
                     14
                                              CENTRAL DISTRICT OF CALIFORNIA
                     15
                                                        WESTERN DISVISION
                     16

                     17
                           REACTX , a Limited Liability             CASE NO.: 2:17-CV-07913 RGK
                     18    Company                                  (AFMX)
                     19                        Plaintiffs,
                                                                    ASSIGNEND TO HON. R. GARY
                     20                 v.                          KLAUSNER
                     21    YIELDBOT, INC., a Delaware             JOINT REPORT PURSUANT TO
                           corporation; and DOES 1-50, inclusive,
                     22                                           F.R.C.P. RULE 26(f)
                                             Defendants.
                     23                                           Rule 26 Scheduling
                     24                                           Conference
                                                                  Date:            March 12, 2018
                     25                                           Time:            9:00 a.m.
                     26                                           Courtroom:       Courtroom 850, Roybal
                                                                                   Building
                     27

                     28
     W OOLF
       &
NACHIMSON , LL P                                                1
ATTO RNEY S AT LAW
   LOS A NG EL ES                            JOINT REPORT PURSUANT TO FRCP RULE 26(f)
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                      1              JOINT REPORT PURSUANT TO F.R.C.P. RULE 26(f)
                      2
                                On February 20, 2018, counsel for Plaintiff REACTX, A LIMITED
                      3

                      4   LIABILITY COMPANY (“Plaintiff” or “ReactX”) and counsel for Defendant
                      5
                          YIELDBOT, INC. (“Defendant” or “Yieldbot”) conferred as required under the
                      6
                          Federal Rule of Civil Procedure 26(f), Central District of California Local Rule 26-1,
                      7

                      8   and this Court’s Order Setting Scheduling Conference dated November 15, 2017 (the
                      9
                          “Scheduling Order”).
                     10
                                Plaintiff and Defendant, through their respective counsel of record, hereby
                     11

                     12   submit this Joint Report Pursuant to F.R.C.P. 26(f) prepared following their February
                     13
                          20, 2018 conference:
                     14

                     15   I.    STATEMENT OF THE CASE
                     16
                                A.     Plaintiff’s Statement of the Case
                     17
                                Plaintiff, ReactX is a company that developed a creative platform that
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                     19   scaled non-standard advertising units. The company provides a platform to create,
                     20   manage, and deploy custom adaptive rich media creative with video that requires
                     21
                          highly specialized advanced methods and capabilities. Based upon the fact that it
                     22

                     23   worked many years and spent over $4.5 millions dollars to create its platform,
                     24
                          ReactX has at all times deemed its proprietary information and schematics related
                     25
                          to its digital creative platform as a trade secret. To guard its trade secrets, ReactX
                     26

                     27   only allows parties to use its platform relating to its use under a strict Terms of
                     28
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                      1   Use agreement.
                      2
                                Yieldbot through fraud, misrepresentations, misappropriations, and
                      3

                      4   breaches of contract improperly and maliciously acquired ReactX’s product and

                      5   has attempted to pass it off as its own.
                      6
                                In the present action, Plaintiff alleges against Defendant the following claims:
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                      8   (1) fraud; (2) negligent misrepresentation; (3) breach of contract; and (4)
                      9   misappropriation of trade secrets.
                     10

                     11         B.     Defendants’ Statement of the Case

                     12         Defendant Yieldbot, Inc. (“Yieldbot”) is a leading media technology company
                     13
                          with headquarters in New York City.
                     14
                                This action arises out of Plaintiff ReactX’s misplaced effort to use litigation as
                     15

                     16   a vehicle to punish Yieldbot for the parties’ failure to reach agreement on the terms
                     17
                          of an acquisition that ReactX desperately needed to stay alive. ReactX asserts
                     18
                          Yieldbot bated it into disclosing its trade secrets under the ruse of conducting due
                     19

                     20   diligence in furtherance of a potential acquisition so that Yieldbot could instead use
                     21
                          those trade secrets to build a competing product. Nothing can be further from the
                     22
                          truth and ReactX’s failures cannot be blamed on Yieldbot. Yieldbot denies it
                     23

                     24   committed fraud, made any negligent misrepresentations, breached any enforceable
                     25
                          contracts, or misappropriated trade secrets.
                     26

                     27

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                      1   II.   ADDITIONAL RULE 26(f) DISCOVERY MATTERS &
                      2
                                DISCOVERY PLAN
                      3

                      4         a.     Rule 26(f)(3)(A): The Parties have agreed to exchange initial

                      5   disclosures under Rule 26(a) on or before March 6, 2018. The Parties have further
                      6
                          agreed that it is most efficient and cost effective to produce the documents identified
                      7

                      8   in their initial disclosures along with the other non-privileged documents that are
                      9   responsive to a Party’s requests for production pursuant to Rule 34. It is Defendant
                     10
                          Yieldbot’s position that no discovery may be commenced against it prior to the
                     11

                     12   Plaintiff first complying with California Civil Code § 2019.210.
                     13         b.     Rule 26(f)(3)(B): The Parties agree that discovery will be necessary
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                          regarding Plaintiff’s claims and the Defendant’s denials of the claims and its
                     15

                     16   affirmative defenses. In addition, it is Defendant Yieldbot’s position that Plaintiff
                     17   must identify its alleged trade secrets with reasonable particularity before it may
                     18
                          commence any discovery against Yieldbot. See Cal. Civil Code § 2019.210.
                     19

                     20         c.     Rule 26(f)(3)(C): At this time, the Parties do not believe that discovery
                     21
                          in this case will call for review and production of unmanageable volumes of
                     22
                          electronically stored information (“ESI”). However, both Plaintiff and Defendant
                     23

                     24   intend to seek the production of records of electronic communications (such as e-
                     25
                          mails, text or SMS messages, and instant messaging records, etc.) that are relevant to
                     26
                          Plaintiff’s claims and Defendant’s affirmative defenses. The Parties are in the
                     27

                     28   process of negotiating a stipulation regarding the collection and production of ESI.
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                      1          d.    Rule 26(f)(3)(D): The Parties are negotiating the terms of a Stipulated
                      2
                          Protective Order intended to protect each party’s confidential trade secrets, financial,
                      3

                      4   and business information during the course of discovery, trial preparation, and trial in

                      5   this action. The Parties intend to lodge a proposed Stipulated Protective Order for
                      6
                          the Court’s approval.
                      7

                      8          e.    Rule 26(f)(3)(E): The Parties agree that at this time no changes should
                      9   be made to the limitations on discovery imposed under the Federal and Local Rules.
                     10
                                 Nevertheless, in the event that it becomes apparent that additional key
                     11

                     12   witnesses require deposing, in addition to the 10 depositions granted to each side, the
                     13   parties agree to meet and confer in good faith prior to obtaining leave of court to
                     14
                          extend the number of witnesses subject to deposition.
                     15

                     16          f.    Rule 26(f)(3)(F): The Parties at this time are unaware of any other order
                     17   that the court should issue under Rule 26(c) or under Rule 16(b) and (c).
                     18
                          III.   ADDITIONAL LOCAL RULE 26-1 MATTERS
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                     20
                                 a.    Complex Cases: The Parties agree that the case is not complex
                     21

                     22   and does not require reference to the procedures set forth in the Manual on
                     23   Complex Litigation.
                     24          b.    Motion Schedule: Defendant anticipates filing a motion for summary
                     25
                          judgment and/or summary adjudication.
                     26

                     27          The Parties propose that all dispositive motions be filed by December 10, 2018
                     28          c.    Settlement/ADR: The Parties agree to participate in ADR Procedure
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                      1   No. 3, a private dispute resolution proceeding (mediation), no later than January 4,
                      2
                          2019.
                      3

                      4           d.      Trial Estimate: The Parties estimate a seven to ten (7-10) day jury

                      5   trial. The parties propose a February 18, 2019 pre-trial date and a March 5, 2019 trial
                      6
                          date.
                      7

                      8           e.      Additional Parties: The parties do not anticipate adding additional
                      9   parties.
                     10
                                  f.      Expert Witnesses: The Parties propose expert disclosures in according
                     11

                     12   to the following schedule: Plaintiff’s Expert Disclosure Date of September 3, 2018
                     13   and Defendant’s Expert Disclosure Date of October 8, 2018.
                     14
                          IV.     TIMETABLE
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                     16       Last Date to Join Other Parties or Amend Pleadings: April 9, 2018;
                     17
                              Service of Rule 26(a)(2) Initial Expert Disclosure by Plaintiff: September 3,
                     18
                                  2018;
                     19

                     20       Defendant’s Expert Disclosures: October 8, 2018;
                     21
                              Discovery Cut Off: November 5, 2019;
                     22

                     23       Motion Hearing Cut Off Date: January 7, 2019;

                     24       Settlement/ADR Cut Off: January 4, 2019;
                     25
                              Pre-Trial Conference: February 18, 2019; and
                     26

                     27       Trial Date: March 5, 2019.
                     28
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                         1   Dated: March 6, 2018                          WOOLF & NACHIMSON, LLP
                         2
                                                                   By: /s/ Chaim J. Woolf           .
                         3                                              Chaim J. Woolf
                         4
                                                                        Attorneys for Plaintiff ReactX

                         5
                             Dated: March 6, 2018                          GORDON REES SCULLY
                         6                                                 MANSUKHANI, LLP
                         7

                         8                                         By: /s/ Thomas R. Watson          .
                         9
                                                                        Thomas R. Watson
                                                                        Attorneys for Defendant Yieldbot,
                     10                                                 Inc.

                     11      I, Chaim J. Woolf, am the ECF User whose ID and Password are being used to
                     12
                             file this Report. In compliance with Local Rule 5-4.3.4, I hereby attest that
                     13
                             Thomas R. Watson has concurred in the content of the Report and has authorized
                     14

                     15      this filing.
                     16

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NACHIMSON , LL P                                                  7
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   LOS A NG EL ES                              JOINT REPORT PURSUANT TO FRCP RULE 26(f)
